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                                                  Instruction No. 1

                    Members of the jury, the instructions I gave at the beginning of the trial and

            during the trial are still in effect. Now I am going to give you some additional

            instructions.

                    You have to follow all of my instructions - the ones I gave you earlier, as well as

            those I give you now. Do not single out some instructions and ignore others, because they

            are all important. This is true even though I am not going to repeat some of the

            instructions I gave you at the beginning of the trial.

                    You will have copies of the instructions I am about to give you now in the jury

            room. This does not mean these instructions are more important than others. Remember,

            you have to follow all instructions, no matter when I give them, whether or not you have

            written copies.
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                                        Instruction No. 2

          I have not intended to suggest what I think your verdict should be by any of my

   rulings or comments during the trial. That is entirely up to you.
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                                          Instruction No. 3

           When I use the word "evidence," I mean the testimony of witnesses; documents

   and other things I receive as exhibits; facts that I tell you the parties have agreed are true;

   and any other facts that I tell you to accept as true.

   Some things are not evidence. I will tell you now what is not evidence:

            1. Lawyers' statements, arguments, questions, and comments are not evidence.

            2. Documents or other things that might be in court or talked about, but that I do

    not receive as exhibits, are not evidence.

            3. Objections are not evidence. Lawyers have a right - and sometimes a duty-

    to object when they believe something should not be a part of the trial. Do not be

    influenced one way or the other by objections. If I sustain a lawyer' s objection to a

    question or an exhibit, that means the law does not allow you to consider that

    information. When that happens, you have to ignore the question or the exhibit, and you

    must not try to guess what the information might have been.

           4. Testimony and exhibits that I strike from the record, or tell you to disregard, are

   not evidence, and you must not consider them.

           5. Anything you see or hear about this case outside the courtroom is not evidence,

   and you must not consider it unless I specifically tell you otherwise.
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                                              Instruction No. 4

             In deciding what the facts are, you may have to decide what testimony you

   believe and what testimony you do not believe. You may believe all of what a witness

   said, or only part of it, or none of it.

             You may consider a witness ' s intelligence; the opportunity the witness had to see

   or hear the things testified about; a witness ' s memory, knowledge, education, and

   experience; any reasons a witness might have for testifying a certain way; how a witness

   acted while testifying; whether a witness said something different at another time;

   whether a witness' s testimony sounded reasonable; and whether or to what extent a

   witness ' s testimony is consistent with other evidence you believe.

             In deciding whether to believe a witness, remember that people sometimes hear or

   see things differently and sometimes forget things. You will have to decide whether a

   contradiction is an innocent misrecollection, or a lapse of memory, or an intentional

   falsehood; that may depend on whether it has to do with an important fact or only a small

   detail.
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                                              Instruction No. 5


           You will have to decide whether certain facts have been proved by the greater

   weight of the evidence. A fact has been proved by the greater weight of the evidence, if

   you find that it is more likely true than not true. You decide that by considering all of the

   evidence and deciding what evidence is more believable.

           You have probably heard the phrase "proof beyond a reasonable doubt." That is a

   stricter standard than "more likely true than not true." It applies in criminal cases, but not

   in this civil case; so put it out of your mind.
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                                       Instruction No. 6

       The term "negligent" or "negligence" as used in these instructions means the failure

    to use ordinary care. The phrase "ordinary care" means that degree of care that an

    ordinarily careful individual person or an ordinarily careful motor vehicle manufacturer

    would use under the same or similar circumstances.
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                                        Instruction No. 7

   Your verdict must be for plaintiff if you believe:

          First, defendant sold the 2004 Savana in the course of defendant's business, and

          Second, the 2004 Savana was then in a defective condition unreasonably

   dangerous when put to a reasonably anticipated use, and

          Third, the 2004 Savana was used in a manner reasonably anticipated, and

          Fourth, such defective condition as existed when the 2004 Savana was sold

   directly caused or directly contributed to cause damage to plaintiff.
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                                        Instruction No. 8


          Your verdict must be for the defendant unless you believe that the 2004 Savana,

   when sold, was in a defective condition unreasonably dangerous and that defective

   condition as existed when the 2004 Savana was sold directly caused or directly

   contributed to cause damage to Plaintiff.
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                                        Instruction No. 9

   Your verdict must be for plaintiff if you believe:

           First, defendant designed the 2004 Savana, and

           Second, the 2004 Savana:

                  did not have a strong enough roof, or

                  did not have a seat belt that adequately restrained plaintiff during the

                  rollover, and

           Third, defendant failed to use ordinary care to design the 2004 Savana to be

   reasonably safe, and

           Fourth, such negligence directly caused or directly contributed to cause damage to

   plaintiff.
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                                         Instruction No. 10


           Your verdict must be for the defendant unless you believe: 1) that the 2004

    Savana either did not have a strong enough roof or did not have a seatbelt that adequately

    restrained Plaintiff during the rollover, 2) that General Motors failed to use ordinary care

    to design the 2004 Savana to be reasonably safe, and 3) that such negligence directly

    caused or directly contributed to cause damage to Plaintiff.
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                                         Instruction No. 11

    Your verdict must be for plaintiff if you believe:

           First, defendant sold the 2004 Savana in the course of defendant's business, and

           Second, the 2004 Savana was then unreasonably dangerous when put to a

    reasonably anticipated use without knowledge of its characteristics, and

           Third, defendant did not give an adequate warning of the danger, and

           Fourth, the product was used in a manner reasonably anticipated, and

           Fifth, the 2004 Savana being sold without an adequate warning directly caused or

    directly contributed to cause damage to plaintiff.
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                                        Instruction No. 12


           Your verdict must be for the defendant unless you believe that the 2004 Savana

    was, when sold, unreasonably dangerous when put to a reasonably anticipated use

    without knowledge of its characteristics, that the defendant did not give an adequate

    warning of the danger, that the product was used in a manner reasonably anticipated, and

    that the 2004 Savana being sold without an adequate warning directly caused or directly

    contributed to cause damage to Plaintiff.
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                                          Instruction No. 13

           If you find in favor of plaintiff, then you must award plaintiff such sum as you

    believe will fairly and justly compensate plaintiff for any damages you believe plaintiff

    sustained and is reasonably certain to sustain in the future as a direct result of the

    occurrence mentioned in the evidence.
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                                         Instruction No. 14

           There are rules you must follow when you go to the jury room to deliberate and

    return with your verdict.

           First, you will select a foreperson. That person will preside over your discussions

    and speak for you here in court.

           Second, it is your duty, as jurors, to discuss this case with one another in the jury

    room. You should try to reach agreement, if you can do this without going against what

    you believe to be the truth, because all jurors have to agree on the verdict.

           Each of you must come to your own decision, but only after you have considered

    all the evidence, discussed the evidence fully with your fellow jurors, and listened to the

    views of your fellow jurors.

           Do not be afraid to change your mind if the discussion persuades you that you

    should. But, do not come to a decision just because other jurors think it is right, or just to

    reach a verdict. Remember you are not for or against any party. You are judges - judges

    of the facts. Your only job is to study the evidence and decide what is true.

            Third, if you need to communicate with me during your deliberations, send me a

    note signed by one or more of you. Give the note to the bailiff and I will answer you as

    soon as I can, either in writing or here in court. While you are deliberating, do not tell

    anyone - including me - how many jurors are voting for any side.

           Fourth , your verdict has to be based only on the evidence and on the law that I

    have given to you in my instructions. Nothing I have said or done was meant to suggest

    what I think your verdict should be. The verdict is entirely up to you.
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           Finally, the verdict form is your written decision in this case. You will take this

    form to the jury room, and when you have all Instructions for Use at Close of Trial

    agreed on the verdict, your foreperson will fill in the form, sign and date it, and tell the

    court security officer that you are ready to return to the courtroom.
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                                        VERDICT FORM


           We, the jury, for our Verdict, answer the questions submitted to us as follows:


        1. When plaintiffs 2004 Savana was sold by defendant, was it in a defective

    condition unreasonably dangerous when put to a reasonably anticipated use?

                   Answer: - - -- - --             (Yes or No)
    [Direction A: If your answer to Question 1 is "Yes," then answer Question 2. If your
    answer to Question 1 is "No," then do not answer Question 2, but proceed to answer
    Question 3.]


       2. Did the defective condition of the 2004 Savana, as found by the jury with respect

    to Question 1, directly cause or directly contribute to cause damage to plaintiff?

                   Answer: _ _ _ _ _ _ _ (YesorNo)


       3. Was defendant negligent in the design of plaintiffs 2004 Savana?

                   Answer: _ _ _ _ _ _ _ (YesorNo)
    [Direction B: If your answer to Question 3 is "Yes," then answer Question 4. If your
    answer to Question 3 is "No," then do not answer Question 4, but proceed to answer
    Question 5.]



       4. Did the negligence of defendant, as found by the jury with respect to Question 3,

    directly cause or directly contribute to cause damage to plaintiff?

                   Answer: _ _ _ _ _ _ _ (YesorNo)
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       5. When plaintiffs 2004 Savana was sold by defendant, was it then unreasonably

    dangerous when put to a reasonably anticipated use because it lacked adequate warnings?

                   Answer: _ _ _ _ _ _ _ (Yes or No)

    [Direction C: If your answer to Question 5 is "Yes," then answer Question 6. If your
    answer to Question 5 is "No," then do not answer Question 6.]



       6. Did plaintiffs 2004 Savana being sold without adequate warnings directly cause

    or directly contribute to cause damage to plaintiff?

                   Answer: _ _ _ _ _ _ _ (Yes or No)



    [Direction D: If any of your answers to Questions 2, 4, or 6 is "Yes," then answer
    Question 7. If your answers to Questions 2, 4, and 6 are all "No," then thejury should
    answer no more questions but the foreperson should sign the verdict form and notify the
    court security officer.]



       7. We, the jury, assess the damages of plaintiff Lauretta Roberts at:



           $ _ _ _ _ __ _ _ _ __ _ _ _ _ _ (stating the amount)




                                                           FOREPERSON


    Dated: April _ _, 2016
